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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                           Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of           DECLARATION OF S
   themselves and all others similarly situated,            T         IN SUPPORT OF
17               Plaintiffs,
                                                            PLAINTIFFS’ MOTIONS FOR
                                                            PRELIMINARY INJUNCTION
18        v.                                                AND PROVISIONAL CLASS
                                                            CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4244534 5]
        DECLARATION OF S        T         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                           INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, S    T         , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I was incarcerated at FCI Dublin’s satellite camp from July 14, 2021 until
 6 June 5, 2023.
 7                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 8 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
 9 and put myself and other incarcerated persons at substantial, imminent risk of serious harm
10 from sexual assault, harassment, and retaliation from staff.
11                 4.     Between July 14 and August 2, 2021, during a COVID quarantine, on at least
12 two occasions, male staff had walked into the shower area and saw me naked. Officer
13 Saucedo told me “welcome to hell.” The inmates, in general, were subjected to verbal
14 abuse, retaliation and lack of care. The officers would scream at us, degrade us. I have
15 never seen anyone treated that way.
16                 5.     When I arrived at FCI Dublin in 2021, I received no PREA training. It
17 doesn’t exist there.
18                 6.     Staff at FCI Dublin have never worn body-worn cameras in the facility and
19 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
20 cameras. There are some cameras installed in fixed locations in the facility, but it is well
21 known that there are no cameras in parts of the kitchen, areas of the warehouse. It does not
22 feel like there are any on the unit. There are physical fights and no response. Even where
23 there are cameras, they are not monitored.
24                 7.     There is no effective way to confidentially report sexual assault and abuse by
25 staff at FCI Dublin to outside authorities. They put out a “crime stoppers” number on the
26 phones, but you can’t call it. When the Task Force came, I sent them an email about an
27 incident. The report went directly back to SIS.
28                 8.     Staff at FCI Dublin prevent people from reporting sexual assault and abuse
     [4244534 5]                                          1
        DECLARATION OF S             T         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                                INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 by staff and retaliate against people who do report. Inmates were constantly threatened
 2 with being placed in SHU with no access to phone and communications and their cells
 3 being tossed/searched. They also threaten you with getting shots. I’m afraid of doing
 4 anything.
 5                 9.    When incarcerated persons report sexual assault and abuse by staff, FCI
 6 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
 7 delayed and overseen by staff who know and work with the offending staff member.
 8 Generally nothing happens as a result. I have filed numerous grievances about the
 9 conditions at FCI Dublin but the grievances are always ignored.
10                 10.   It is extremely difficult to access confidential mental health care available to
11 survivors of sexual abuse and assault at the camp. I’ve heard of a new unmonitored legal
12 line, which they have set up in the chapel at the camp, but you have to get clearance for
13 specific numbers to use it, and it is not working.
14                 11.   There is little to no medical care available to survivors of sexual abuse and
15 assault at FCI Dublin. The medical care has gotten worse. In general, there is inadequate
16 medical care at the facility and the inmates are medically neglected. For the past 6-8
17 months, there were no mammograms. The x-ray technician was walked off. They brought
18 in a new OB-GYN, a male doctor, who I have heard is touchy-feely. I was denied diabetic
19 snacks for a very long time, and when I did receive them (moldy bread and cheese)—it
20 was almost inedible. I was also regularly denied blood sugar tests. The medical care is
21 horrible at FCI Dublin; I saw an 80-year-old woman living with an open leg wound.
22                 12.   Other aspects of the living conditions at the camp are dire. There is no hot
23 water, we take cold showers. There is no kitchen in the camp anymore, and we receive
24 cold food from FCI Dublin, and what we do receive is rarely fresh fruits or vegetables.
25 There is no ADA accessibility. Older folks have difficulty getting lower bunk chronos.
26 There is black mold and asbestos, they had us sign a training document and then it
27 disappeared. We were not actually trained in how to deal with asbestos and black mold
28 (for which there was a posted OSHA warning). There is no real certification program.
     [4244534 5]                                         2
        DECLARATION OF S            T         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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